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RE: Jose De Jesus Basilio & Iraida Fernandez                   PRO SE                        Case# 16-21346-RAM
          TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
The Trustee reviewed this case for confirrnation and found the following deficiencies from the Trostee's letter requesting
doeurneuts and prior deficiencies and thus objects as follows:
      Tax returns:                 Corp:2014-2015                          Photo ID(s)         LF 90                 LF67    LFlO
.:!._ Bank Account Statements     3 months pre-petition            _ Dornestic Support Info: name address and phone
      BK STMT#0706 (611-6130) & #972718857 (5117-5119)             .L Affidavit of Rentor copy of Lease
                                                                   ~ Insurance Policy
                                                                   ~ Other provis ions Income Verification Language
_Check copy - - - - - - - - - - - - - - - -                                            \()_w~v.Y., ( \o;\. (\... ,'!_.<<"'>)
                                                                       Plan does not fund
_ Explain WID _ _ _ _ _ _ _ _ _ _ _ _ _ __                         _Calculation errorslimproper months _ _ _ _ _ __
_ FMV(NADAICarrnax), Reg and Payoff:Vehicles_ __                       Valuation motion has not been filed
                                                                       LMMIMMM motion not filed
 .! FMV and9Real Estate_2_5_0_ _ _ _ _ _ _ __                      _ Reaffirrn, redeem or surrender Sch D & G creditor
                                                                   _ Creditor on plan not listed in Schedules or no filed POC
.'!_Non homestead Inforrnation Sheet (300 & 250)                        Priority debt on Sch E not in plan
LWage deduction order or motion to waive                            .! Object or ConformtoProof of Claim (CL#l & 7)
 BUSINESS DEBTOR DOCUMENTS (FOR ALL 3 BIZ)                             _Miami-Dade County                _Tax Certificate(DE#__)
:!.__ BDQ & attachments .f Profit & Loss .f Balance Sheet              _Dept of Revenue                  _ IRS
.{_Bank statements and checks .f 3 months - - - - - -               AP TO PAY OCWEN FROM MONTH 1
 BPS, BASILIO & FEBAS INV.
                                                                   {_ Other: CEMETERY DOCS


       Fee application (see court guideline 6)                                      Objection to Exemption (specifics to be filed)
       Income understated             stubs           taxes                         To be heard with COIJ.Mrrnation at 1:30 m-==:::
       co-debtor                      stubs           taxes              J
                                                                         ·          Ch 7 s/b \lSi 6(oS' ~plus tax refun I valuations
       Spouse's pay adviceslspouse's wages not disclosed                            Good faith to unsecured
       Proof ofhousehold size (government ID wl address)                     , ./   Expenses: documentation/calculation: CMI line
       and income of all adults                                         18 1 2 S',               q- bOou..   Cv û   oa   bOtV-
       Best effort < 36 months < 60 months
J      Expenses objectionable: Sch J 0 Provide Proof
         'a~ (M,r 'M a.c\ '                                                            CMI!DI _ _ _ _ x 60 = _ _ _ _ __
 I     Dil > 100% < 90%                             (Y\ 31 ~bO          0           Plus incomelexpenses issues 0 Trustee est. $_ __
       Info on transfer                     undisclosed                                Undervalued collateral should be crammed down
       _Tolling Agreement(s)




Trustee reserves the right to raise additional objects until all requested doeurneuts are timely provided.

IMPORTANT NOT/CE REGARDING CONFIRMATION: IF THE DEBTOR(S) OBJECTS TO THE TRUSTEE'S
RECOMMENDATION ON THE PUBLISBED CALENDAR, THE DEBTOR'SATTORNEYMUSTCONTACT THE TRUSTEE'S
OFFICEANDSPEAKTOANATTORNEYBEFORE2PMTHEDAYPRIORTOTHEHEARINGORTHERECOMMENDATION
WILL BE DEEMED UNCONTESTED BY THE DEBTOR. **The Trustee's calendar wil! be published prior to the corifirmation
hearing- contact the Trustee 's office on how to locale the calendar on her web site- access is limited The debtor or debtor 's attorney
must appear at the confirmation hearing The debtor may still be dismissed for failure to fund the plan ifthey are delinquent in payments.
Please note: documents that were not timely filedlreceived by the trustee may not be considered or reviewed until the next hearing date.

Deficiencies must be cured by 5 pm on          / / - '@..01- f (..,   to avoid dismissal
The Trusteewill recommend dismissal ofthi; case unless a) The Trustee receives copies of all requested
documentsas listed above, b) The Trustee receives a written response with "back-up documentation"
of all issues raised, c) The debtor files all amendments, and d) The debtor files and properly serves all
motions and self-calendars those motions for the first confirmation hearing.
I hereby certifv that a true and correct copy ofthe foregoing was served through ECF on the debtor's attomey or by U.S. First
Class pre-paicfMail on the pro se debtor on the same day filed with the Court. Submitted by NANCY K. NEIDICH CHAPTER
13 TRUSTEE, P.O. BOX 279806, MIRAMAR, FL 33027
